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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,

           v.                                                   Criminal Action No. 23-287 (JDB)
   ODIN MEACHAM,

           Defendant.


                                                  ORDER

         Upon consideration of the entire record herein, it is hereby ORDERED that the following schedule

 shall govern pre-trial proceedings:

         1. Pre-trial motions shall be filed by not later than January 22, 2024.

         2. Oppositions shall be filed by not later than February 5, 2024.

         3. Replies shall be filed by not later than February 12, 2024.

         4. Motions in limine shall be filed by not later than April 22, 2024.

         5. Oppositions to motions in limine shall be filed by not later than May 2, 2024.

         6. Replies to motions in limine shall be filed by not later than May 15, 2024.

         7. Voir Dire Questions and Jury Instructions shall be filed by not later than May 20, 2024.

         8. Pre-Trial Conference shall be held on May 22, 2024 at 10:00 a.m. in Courtroom 30A.

         9. Jury Trial set for June 17, 2024 at 09:30 a.m. in Courtroom 30A.



     SO ORDERED.

                                                                          /s/
                                                                  JOHN D. BATES
                                                              United States District Judge
Dated: December 1, 2023
